       Case 7:23-cv-10631-KMK         Document 28       Filed 11/13/24     Page 1 of 2




2341 Jefferson Street, Suite 200
San Diego, California 92110

                                     November 13, 2024
VIA ECF
The Honorable Kenneth M. Karas, U.S. District Court, Southern District of New York

Re: Pellegrino v. The Procter & Gamble Co. (No. 23-cv-10631) (KMK)

Dear Judge Karas:

As requested during the November 13, 2024 telephonic hearing on The Procter & Gamble
Company’s Motion to Transfer or Stay This Action, attached please find the (1) Joint Stipulated
Request for an Order Granting Plaintiff Leave to File a Second Amended Complaint and Setting
Associated Deadlines; (2) Declaration of Melanie Persinger in Support of Stipulated Request for
Order Granting Leave to File a Second Amended Complaint and Setting Associated Deadlines;
and (3) Order Granting Stipulated Request for Leave to File a Second Amended Complaint and
Setting Associated Deadlines, filed in Amado v. The Procter & Gamble Co., No. 3:22-cv-5427-
MMC (N.D. Cal.).

Respectfully Submitted,




Jack Fitzgerald

cc: Courtlin H. Lannin (via ECF)




                                    Jack Fitzgerald | jfitzgerald@fmfpc.com | (619) 215-1741
       Case 7:23-cv-10631-KMK   Document 28   Filed 11/13/24   Page 2 of 2




Page | 2
